                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


 MAXWELL KADEL, et al.,

                            Plaintiffs,

                       v.                           Case No. 1:19-cv-00272-LCB-LPA

 DALE FOLWELL, in his official capacity as
 State Treasurer of North Carolina, et al.,

                            Defendants.


                  PLAINTIFFS’ MOTION IN LIMINE #1,
           TO EXCLUDE THE TESTIMONY OF WAYNE GOODWIN

      Pursuant to Federal Rule of Evidence 702, and for reasons set forth in the

accompanying memorandum of law, Plaintiffs respectfully move this Court to exclude the

expert testimony of Mr. George Wayne Goodwin, an expert originally retained by the now-

settled University Defendants, and whose opinions were subsequently adopted by the

North Carolina Department of Public Safety (“NCDPS”). On February 2, 2022, Plaintiffs

filed Daubert motions related to Defendants’ experts Drs. Hruz (ECF No. 204), Levine

(ECF No. 212), McHugh (ECF No. 206), Lappert (ECF No. 208), and Robie (ECF No.

202). At that time, Plaintiffs did not seek to exclude Mr. Goodwin, since it was unclear

whether any Defendant would call Mr. Goodwin at trial. Based on NCDPS’s Pre-Trial

Disclosure, Plaintiffs now move to exclude Mr. Goodwin for the reasons set forth in their

motion and memorandum, and renew their previously-filed Daubert motions.               A

supporting memorandum of law is filed contemporaneously herewith.


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Dated:   June 10, 2022                         Respectfully submitted,

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                            CERTIFICATE OF SERVICE
       I hereby certify that the foregoing document was filed electronically with the Clerk

of Court using the CM/ECF system, which will send notification of such filing to all

registered users.


Dated: June 10, 2022                      /s/ Amy E. Richardson
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